         Case 4:14-cv-00079-BLW Document 23 Filed 04/17/15 Page 1 of 2




                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


 ROBERT TAYLOR and VERONICA J.
 TAYLOR,                                           Case No. 4:14-cv-00079-BLW

                       Plaintiffs,                 AMENDED ORDER

        v.

 NATIONAL UNION FIRE
 INSURANCE CO. OF PITTSBURGH,
 PA, et. al.,

                       Defendants.


       The Court has before it the parties’ Stipulation for Filing of Third Amended

Complaint, and to Extend Discovery Deadlines (Dkt. 21). The Court will grant the request

to file the third amended complaint. The Court will extend deadlines, but not to the extent

requested by the parties – the Court finds that a shorter extension is appropriate.

Accordingly,

       IT IS ORDERED:

       1.      The parties’ Stipulation for Filing of Third Amended Complaint, and to

               Extend Discovery Deadlines (Dkt. 21) is GRANTED in part and DENIED

               in part.

       2.      Plaintiffs shall immediately file their third amended complaint.


ORDER - 1
        Case 4:14-cv-00079-BLW Document 23 Filed 04/17/15 Page 2 of 2



      3.    The following deadlines will be extended as noted:

            a.    Dispositive Motion Deadline: April 25, 2016.

            b.    Amendment of Pleadings and Joinder of Parties: November 16,

                  2015.

            c.    Alternative Dispute Resolution Plan: May 9, 2015.

            d.    Completion of Discovery: February 29, 2016.

            e.    Disclosure of Experts:

                  i.      Plaintiffs: November 9, 2015.

                  ii.     Defendants: December 21, 2015.

                  iii.    Rebuttal: January 18, 2016.


                                       DATED: April 17, 2015



                                       B. LYNN WINMILL
                                       Chief U.S. District Court Judge




ORDER - 2
